      Case 3:13-cr-04469-MMA                 Document 457           Filed 02/08/16             PageID.1171         . · __   M~
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AO 245B (CASDRev. 08/13) Judgment in a Criminal Case                                                               FrLr:,;,
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                                       UNITED STATES DISTRICT COUK                                             .   FE~-~' 20~
                                          SOUTHERN DISTRICT OF CALIFORNIA                                  ClEHK. L'::: .:I~I;;,I:- CS~'RT
                                                                                                       SOUTHEHN DISrr-., ,.,:p~J
                                                                                                       BY                 ~      ~ 'l-F:rN' ~
                                                                                                                              -. ~.,                      DE;IGt
             UNITED STATES OF AMERICA                               JUDGMENT IN A CRI
                                  V.                                (For Offenses Committed On or After November I, 1987)
        JUAN CARLOS MARTINEZ-ESQUER (7)
                                                                       Case Number:         13CR4469 MMA

                                                                    JANICE M. DEATON
                                                                    Defendant's Attorney
REGISTRATION NO.                  46891298
D -
THE DEFENDANT:
~    pleaded guilty to count(s)         ONE OF THE SUPERSEDING INFORMATION

D was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                             Connt
Title & Section                    Natnre of Offense                                                                                        Number(sl
21 USC 841(a)(1), 843(b)           ILLEGAL USE OF A COMMUNICATION FACILITY                                                                     I




    The defendant is sentenced as provided in pages 2 through                 2            of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
~    Count(s)   UNDERLYING INDICTMENT                         is          dismissed on the motion of the United States.

~    Assessment: $100.00



~    No fine                  D Forfeiture pursuant to order filed                                                   , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant's economic circumstances.




                                                                    HON. MICHAEL M. ANELLO
                                                                    UNITED STATES DISTRICT JUDGE



                                                                                                                                   13CR4469 MMA
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AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

DEFENDANT:               JUAN CARLOS MARTINEZ-ESQUER (7)                                          Judgment - Page 2 of 2
CASE NUMBER:             13CR4469 MMA

                                                IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a tenn of:
TWENTY-NINE (29) MONTHS




o     Sentence imposed pursuant to Title 8 USC Section 1326(b).
~     The court makes the following recommendations to the Bureau of Prisons:
      COURT RECOMMENDS PLACEMENT AT A FACILITY IN EL PASO, TEXAS.




o     The defendant is remanded to the custody of the United States Marshal.

o     The defendant shall surrender to the United States Marshal for this district:
      D    at _ _ _ _ _ _ _ _ A.M.                           on _____________________________________

      D    as notified by the United States Marshal.

      The defendant shall surrender for service of sentence at the institution designated by the Bureau of
o     Prisons:
      D    on or before
      D    as notified by the United States Marshal.
      D    as notified by the Probation or Pretrial Services Office.

                                                      RETURN
I have executed this judgment as follows:

      Defendant delivered on   _________________________ to ____________________________


at ________________________ , with a certified copy of this judgment.


                                                                UNITED STATES MARSHAL



                                    By                    DEPUTY UNITED STATES MARSHAL




                                                                                                      13CR4469 MMA
